JS 44C/SDNY                   Case 1:19-cv-06303-ALC CIVIL
                                                     Document
                                                           COVER2SHEET
                                                                   Filed 07/08/19 Page 1 of 2
REV. 06/01/17
                          The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                          other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                          United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                     DEFENDANTS
BRUCE E. KATZ, M.D., P.C., D/B/A JUVA SKIN AND LASER CENTER,                                   LICEDOCTORS LLC
individually and on behalf of all others similarly situated

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                            ATTORNEYS (IF KNOWN)
Marcus & Zelman LLC, 701 Cookman Ave Ste 300 Asbury Park NJ 07712
Tel: 732.695.3282 Email: yzelman@marcuszelman.com

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                           (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

47 U.S.C. §227           Defendant violated the TCPA

                                                                                                                                                         Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                             ✔   Yes

If yes, was this case Vol.           Invol.      Dismissed. No             Yes        If yes, give date _______________________ & Case No. ______________________

IS THIS AN INTERNATIONAL ARBITRATION CASE?               No       ✖        Yes

(PLACE AN [x] IN ONE BOX ONLY)                                           NATURE OF SUIT
                                  TORTS                                                                                        ACTIONS UNDER STATUTES



CONTRACT                          PERSONAL INJURY                 PERSONAL INJURY              FORFEITURE/PENALTY              BANKRUPTCY                      OTHER STATUTES
                                                                  [ ] 367 HEALTHCARE/
                                                                  PHARMACEUTICAL PERSONAL                                                                      [ ] 375 FALSE CLAIMS
[   ] 110       INSURANCE         [ ] 310 AIRPLANE                                             [ ] 625 DRUG RELATED            [ ] 422 APPEAL
[   ] 120       MARINE            [ ] 315 AIRPLANE PRODUCT        INJURY/PRODUCT LIABILITY                                              28 USC 158             [ ] 376 QUI TAM
                                                                                                SEIZURE OF PROPERTY
[   ] 130       MILLER ACT                 LIABILITY              [ ] 365 PERSONAL INJURY             21 USC 881               [ ] 423 WITHDRAWAL              [ ] 400 STATE
[   ] 140       NEGOTIABLE        [ ] 320 ASSAULT, LIBEL &                 PRODUCT LIABILITY                                            28 USC 157                      REAPPORTIONMENT
                                                                                               [ ] 690 OTHER
                INSTRUMENT                 SLANDER                [ ] 368 ASBESTOS PERSONAL                                                                    [ ] 410 ANTITRUST
[ ] 150         RECOVERY OF       [ ] 330 FEDERAL                          INJURY PRODUCT                                                                      [ ] 430 BANKS & BANKING
                OVERPAYMENT &              EMPLOYERS'                      LIABILITY           PROPERTY RIGHTS                                                 [ ] 450 COMMERCE
                ENFORCEMENT                LIABILITY                                                                                                           [ ] 460 DEPORTATION
                OF JUDGMENT       [ ] 340 MARINE                  PERSONAL PROPERTY            [ ] 820 COPYRIGHTS                                              [ ] 470 RACKETEER INFLU-
[ ] 151         MEDICARE ACT      [ ] 345 MARINE PRODUCT                                       [ ] 830 PATENT                                                           ENCED & CORRUPT
[ ] 152         RECOVERY OF                LIABILITY              [ ] 370 OTHER FRAUD                                                                                   ORGANIZATION ACT
                                                                                               [ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
                DEFAULTED         [ ] 350 MOTOR VEHICLE           [ ] 371 TRUTH IN LENDING                                                                              (RICO)
                STUDENT LOANS     [ ] 355 MOTOR VEHICLE                                        [ ] 840 TRADEMARK                                               [ ] 480 CONSUMER CREDIT
                (EXCL VETERANS)            PRODUCT LIABILITY                                                                   SOCIAL SECURITY                 [ ] 490 CABLE/SATELLITE TV
[ ] 153         RECOVERY OF       [ ] 360 OTHER PERSONAL
                OVERPAYMENT                INJURY                 [ ] 380 OTHER PERSONAL       LABOR                           [   ] 861 HIA (1395ff)          [ ] 850 SECURITIES/
                OF VETERAN'S       [ ] 362 PERSONAL INJURY -               PROPERTY DAMAGE                                     [   ] 862 BLACK LUNG (923)               COMMODITIES/
                BENEFITS                   MED MALPRACTICE        [ ] 385 PROPERTY DAMAGE      [ ] 710 FAIR LABOR              [   ] 863 DIWC/DIWW (405(g))             EXCHANGE
[ ] 160         STOCKHOLDERS                                               PRODUCT LIABILITY             STANDARDS ACT         [   ] 864 SSID TITLE XVI
                SUITS                                                                          [ ] 720 LABOR/MGMT              [   ] 865 RSI (405(g))
[ ] 190         OTHER                                             PRISONER PETITIONS                     RELATIONS                                             [✖] 890 OTHER STATUTORY
                CONTRACT                                          [ ] 463 ALIEN DETAINEE       [ ] 740 RAILWAY LABOR ACT                                                ACTIONS
[ ] 195         CONTRACT                                          [ ] 510 MOTIONS TO           [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS               [ ] 891 AGRICULTURAL ACTS
                PRODUCT           ACTIONS UNDER STATUTES                   VACATE SENTENCE     LEAVE ACT (FMLA)
                LIABILITY                                                  28 USC 2255                                      [ ] 870 TAXES (U.S. Plaintiff or
[ ] 196     FRANCHISE             CIVIL RIGHTS                    [ ] 530 HABEAS CORPUS        [ ] 790 OTHER LABOR                   Defendant)                [ ] 893 ENVIRONMENTAL
                                                                  [ ] 535 DEATH PENALTY                 LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                                  [ ] 540 MANDAMUS & OTHER     [ ] 791 EMPL RET INC                  26 USC 7609               [ ] 895 FREEDOM OF
                                  [ ] 440 OTHER CIVIL RIGHTS
                                                                                                        SECURITY ACT (ERISA)                                            INFORMATION ACT
                                          (Non-Prisoner)
REAL PROPERTY                                                                                                                                                  [ ] 896 ARBITRATION
                                  [ ] 441 VOTING                                               IMMIGRATION                                                     [ ] 899 ADMINISTRATIVE
[ ] 210         LAND              [ ] 442 EMPLOYMENT              PRISONER CIVIL RIGHTS
                CONDEMNATION      [ ] 443 HOUSING/                                          [ ] 462 NATURALIZATION                                                PROCEDURE ACT/REVIEW OR
[ ] 220         FORECLOSURE                 ACCOMMODATIONS        [ ] 550 CIVIL RIGHTS               APPLICATION                                                  APPEAL OF AGENCY DECISION
[ ] 230         RENT LEASE &      [ ] 445 AMERICANS WITH          [ ] 555 PRISON CONDITION  [ ] 465 OTHER IMMIGRATION                                           [ ] 950 CONSTITUTIONALITY OF
                EJECTMENT                   DISABILITIES -        [ ] 560 CIVIL DETAINEE             ACTIONS
                                            EMPLOYMENT                                                                                                          STATE STATUTES
[ ] 240         TORTS TO LAND                                        CONDITIONS OF CONFINEMENT
[ ] 245         TORT PRODUCT       [ ] 446 AMERICANS WITH
                LIABILITY                   DISABILITIES -OTHER
[ ] 290         ALL OTHER           [ ] 448 EDUCATION
                REAL PROPERTY




            Check if demanded in complaint:
                                                                           DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
            CHECK IF THIS IS A CLASS ACTION                                AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
    ✔       UNDER F.R.C.P. 23                                              IF SO, STATE:

DEMAND $______________ OTHER ______________ JUDGE _________________________________ DOCKET NUMBER_________________

Check YES only if demanded in complaint
JURY DEMAND:              ✖   YES       NO                                 NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                          Case 1:19-cv-06303-ALC Document 2 Filed 07/08/19 Page 2 of 2
(PLACE AN x IN ONE BOX ONLY)                                                        ORIGIN
                                                                                                                                          Multidistrict               Appeal to District
✖   1   Original           2 Removed from                  3   Remanded         4 Reinstated or          5 Transferred from           6   Litigation
                                                                                                                                                                  7   Judge from
        Proceeding           State Court                       from               Reopened                   (Specify District)
                                                                                                                                          (Transferred)               Magistrate Judge
                                                               Appellate
                            a.   all parties represented       Court
                                                                                                                                      8 Multidistrict Litigation (Direct File)
                            b.   At least one party
                                 is pro se.
(PLACE AN x IN ONE BOX ONLY)                                              BASIS OF JURISDICTION                                                IF DIVERSITY, INDICATE
    1   U.S. PLAINTIFF           2   U.S. DEFENDANT            ✖   3   FEDERAL QUESTION    4 DIVERSITY                                         CITIZENSHIP BELOW.
                                                                       (U.S. NOT A PARTY)

                                     CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
         (Place an [X] in one box for Plaintiff and one box for Defendant)

                                 PTF    DEF                                                       PTF DEF                                                              PTF       DEF
CITIZEN OF THIS STATE            [ ]1   [ ]1       CITIZEN OR SUBJECT OF A                        [ ]3[ ]3         INCORPORATED and PRINCIPAL PLACE                    [ ]5      [ ]5
                                                    FOREIGN COUNTRY                                                OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE         [ ]2   [ ]2       INCORPORATED or PRINCIPAL PLACE                [ ]4[ ]4         FOREIGN NATION                                      [ ]6      [ ]6
                                                    OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
4514 48th St, Flushing, NY 11377
Queens County



DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)




DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

LICEDOCTORS LLC




                                                                         COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:      THIS ACTION SHOULD BE ASSIGNED TO:                                          WHITE PLAINS                          ✖    MANHATTAN
                            /s/ Yitzchak Zelman
DATE    July 8, 2019                                                                                     ADMITTED TO PRACTICE IN THIS DISTRICT
                         SIGNATURE OF ATTORNEY OF RECORD
                                                                                                         [ ] NO
                                                                                                         [✖] YES (DATE ADMITTED Mo. 09          2014
                                                                                                                                    _______ Yr. _______)
RECEIPT #                                                                                                Attorney Bar Code # YZ5857


Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge _________________________________________________________ is so Designated.

Ruby J. Krajick, Clerk of Court by _____________ Deputy Clerk, DATED _____________________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)


                                               Clear Form                           Save                             Print
